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                                            #: 1141



                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

  MAX MINDS, LLC,

                         Plaintiff,
                                                    CAUSE NO. 1:24-cv-00779-MPB-MKK
  v.
                                                    JURY TRIAL DEMANDED
  TRIANGLE EXPERIENCE GROUP, INC.,
  ROBERT CLARE, JEFFREY MASE,
  KEVIN MULLICAN, and JOHN DOES 1-10,

                         Defendants.


                        DECLARATION OF J. CAMPBELL MILLER

 I, J. Campbell Miller, declare and say:

        1.      I am an attorney duly licensed to practice before this Court, and I am counsel for

 Plaintiff Max Minds, LLC (“Max”) in the above-captioned matter. I make this Declaration,

 which is filed in support of Max’s Amended Motion for Preliminary Injunction, and I could and

 would testify competently to the matters set forth herein.

        2.      Attached hereto as Exhibit 1 is a true and correct copy of a Deposition Excerpt

 from the Deposition of Robert Clare.

        3.      Attached hereto as Exhibit 2 is a true and correct copy of a Deposition Excerpt

 from the Deposition of Kevin Mullican.

        4.      Attached hereto as Exhibit 3 is a true and correct copy of Exhibit 1 used in the

 Deposition of Robert Clare.

        5.      Attached hereto as Exhibit 4 is a true and correct copy of Exhibit 11 used in the

 Deposition of Robert Clare.
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        6.     Attached hereto as Exhibit 5 is a true and correct copy of Exhibit 29 used in the

 Deposition of Robert Clare.

        7.     Attached hereto as Exhibit 6 is a true and correct copy of Exhibit 30 used in the

 Deposition of Robert Clare.

        8.     Attached hereto as Exhibit 7 is a true and correct copy of Exhibit 31 used in the

 Deposition of Rober Clare.

        9.     Attached hereto as Exhibit 8 is a true and correct copy of Exhibit 32 used in the

 Deposition of Robert Clare.

        10.    Attached hereto as Exhibit 9 is a true and correct copy of Exhibit 34 used in the

 Deposition of Robert Clare.

        11.    Attached hereto as Exhibit 10 is a true and correct copy of Exhibit 35 used in the

 deposition of Robert Clare.

        12.    Attached hereto as Exhibit 11 is a true and correct copy of Exhibit 36 used in the

 deposition of Robert Clare.

        13.    Attached hereto as Exhibit 12 is a true and correct copy of Exhibit 37 used in the

 deposition of Kevin Mullican.

        14.    Attached hereto as Exhibit 13 is a true and correct copy of Exhibit 38 used in the

 deposition of Kevin Mullican.

        15.    Attached hereto as Exhibit 14 is a true and correct copy of Exhibit 39 used in the

 deposition of Kevin Mullican.

        16.    Attached hereto as Exhibit 15 is a true and correct copy of Exhibit 40 used in the

 deposition of Kevin Mullican.




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        17.     Attached hereto as Exhibit 16 is a true and correct copy of Triangle Experience,

 Inc.’s Second Amended Verified Answers and Objections to Max’s Interrogatories in this case.

        18.     Attached hereto as Exhibit 17 is a true and correct copy of Max Minds, LLC’s

 First Amended Verified Answers and Objections to TEG’s Interrogatories in this case.

        19.     Attached hereto as Exhibit 18 is a true and correct copy of the Expert Report of

 Robert Zeidman.

        I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.



 Executed on November 26, 2024.



                                              /s/ J. Campbell Miller
                                              J. CAMPBELL MILLER




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